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                                                                    1   Jason S. Takenouchi (SBN 234835)
                                                                        KASOWITZ BENSON TORRES LLP
                                                                    2   101 California Street, Suite 3950
                                                                        San Francisco, California 94111
                                                                    3
                                                                        Tel.: (415) 421-6140
                                                                    4   Fax: (415) 398-5030
                                                                        jtakenouchi@kasowitz.com
                                                                    5
                                                                        Marc E. Kasowitz (pro hac vice)
                                                                    6   Hector J. Torres (pro hac vice)
                                                                        Christine A. Montenegro (pro hac vice)
                                                                    7
                                                                        Nicholas A. Rendino (pro hac vice)
                                                                    8   Joshua E. Roberts (pro hac vice)
                                                                        KASOWITZ BENSON TORRES LLP
                                                                    9   1633 Broadway
                                                                        New York, New York 10019
                                                                   10   Tel.: (212) 506-1700
                                                                   11   Fax: (212) 506-1800
KASOWITZ BENSON TORRES LLP

                             SAN FRANCISCO, CALIFORNIA 94111




                                                                        mkasowitz@kasowitz.com
                               101 CALIFORNIA STREET, SUITE 3950




                                                                   12   htorres@kasowitz.com
                                                                        cmontenegro@kasowitz.com
                                                                   13   nrendino@kasowitz.com
                                                                        jroberts@kasowitz.com
                                                                   14

                                                                   15   Attorneys for Plaintiff MLW Media LLC

                                                                   16                               UNITED STATES DISTRICT COURT
                                                                   17                              NORTHERN DISTRICT OF CALIFORNIA
                                                                   18

                                                                   19   MLW MEDIA LLC,                              Case No: 5:22-cv-00179-EJD
                                                                   20                 Plaintiff,                   PLAINTIFF MLW MEDIA LLC’S
                                                                   21                                              REPLY IN FURTHER SUPPORT OF ITS
                                                                               v.                                  MOTION TO STRIKE DEFENDANT
                                                                   22                                              WORLD WRESTLING
                                                                        WORLD WRESTLING ENTERTAINMENT,             ENTERTAINMENT, INC.’S
                                                                   23   INC.                                       AFFIRMATIVE DEFENSES
                                                                   24                 Defendant.                   Hearing Date: October 26, 2023
                                                                   25                                              Hearing Time: 9:00 a.m.
                                                                                                                   Hearing Location: Courtroom 4
                                                                   26                                              Judge: Hon. Edward J. Davila

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                                                                            MLW’S REPLY IN SUPPORT OF MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                                                                    1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                                    2   I.       INTRODUCTION

                                                                    3            Plaintiff MLW Media LLC (“MLW”) was forced to bring this Motion1 because Defendant

                                                                    4   World Wrestling Entertainment, Inc. (“WWE”) asserted a number of frivolous and unsupported

                                                                    5   Affirmative Defenses that “never should have been filed.” (Opp. at 1.) WWE concedes as much

                                                                    6   by attaching a proposed Amended Answer that strikes the improper Affirmative Defenses that

                                                                    7   MLW challenged, and repleads those Affirmative Defenses that MLW demonstrated are

                                                                    8   inadequate. (See Opp. Exs. A at 21–24, B at 22–27.) Indeed, WWE sheepishly attempts to

                                                                    9   withdraw, without substantively acknowledging, its first, second, fifth, sixth, eighth, and twelfth

                                                                   10   Affirmative Defenses—which MLW pointed out were patently improper—by striking them in its

                                                                   11   proposed Amended Answer. (See Opp. Ex. B at 22–27.)
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                                                                   12            Despite these clear and glaring deficiencies, WWE baselessly accuses MLW of wasting the
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                                                                   13   Court’s time and resources. WWE’s accusation is a textbook example of projection. Rather than

                                                                   14   assuming responsibility for its insufficient pleading and stipulating to amend its Answer, WWE

                                                                   15   untenably opposes a straightforward motion that it forced MLW to bring. WWE spends most of

                                                                   16   its Opposition casting aspersions and engaging in misdirection in an attempt to salvage what

                                                                   17   remains of its insufficient Affirmative Defenses. But WWE’s Opposition is most notable for what

                                                                   18   it omits: it does not argue that its boilerplate pleading satisfies the Twombly/Iqbal standard

                                                                   19   (because, of course, it does not) and wholly ignores reference to the overwhelming authority from
                                                                   20   this Court that makes clear that “courts in this district continue to require affirmative defenses

                                                                   21   meet [that] standard.” Goobich v. Excelligence Learning Corp., 2020 WL 1503685, at *2 (N.D.

                                                                   22   Cal. Mar. 30, 2020) (Davila, J.) (citation omitted) (collecting cases).

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                                                                            See ECF No. 101 (“Motion” or “Mot.”). WWE filed a response to the Motion. See ECF No. 102
                                                                   26
                                                                        (“Opposition” or “Opp.”). Exhibits to the Opposition, ECF Nos. 102-1 (“Ex. A”) and 102-2 (“Ex.
                                                                   27
                                                                        B”), are cited herein as “Opp. Exs.”
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                                                                              MLW’S REPLY IN SUPPORT OF MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                                                                    1            WWE does not address, much less distinguish, this Court’s opinion in Goobich, but instead

                                                                    2   spends six pages of its Opposition arguing why this Court is wrong, citing to cases far and wide,

                                                                    3   including from district courts in Hawaii, Montana, and Washington, all the while ignoring

                                                                    4   overriding authority from this District. (Opp. at 4–5 n.1.) But no amount of sophistry alters the

                                                                    5   reality that the heightened pleading standard under Twombly/Iqbal requires a defendant to “include

                                                                    6   enough supporting information [for its affirmative defenses] to be plausible.” Madison v.

                                                                    7   Goldsmith & Hull, 2013 WL 5769979, at *1 (N.D. Cal. Oct. 24, 2013) (Davila, J.) (citations

                                                                    8   omitted). WWE implicitly concedes that, despite having sixty (60) days to draft its Answer, its

                                                                    9   boilerplate pleading does not satisfy its legal obligation, and therefore advocates for a “more

                                                                   10   relaxed pleading standard” applied by certain courts in other districts. (Opp. at 6.)

                                                                   11            Recognizing that its Affirmative Defenses are insufficient, WWE argues that the Motion
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                                                                   12   should be denied because MLW has not made a showing of prejudice. (Opp. at 9–12.) However,
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                                                                   13   this Court has no such requirement. Rather, this Court routinely strikes inadequately pleaded and

                                                                   14   improper affirmative defenses without considering prejudice. And, of course, it is apparent that

                                                                   15   requiring MLW to engage in costly discovery and argument on patently improper and inadequate

                                                                   16   affirmative defenses is inherently prejudicial.

                                                                   17            Because WWE implicitly acknowledges in its proposed Amended Answer that its first,

                                                                   18   second, fifth, sixth, eighth, and twelfth Affirmative Defenses are improper, and that its remaining

                                                                   19   Affirmative Defenses are inadequately pleaded, MLW has no objection to this Court granting
                                                                   20   leave to WWE to amend its Answer,2 while striking with prejudice the “Reservation of Rights”

                                                                   21   section and the first, second, fifth, sixth, eighth, and twelfth Affirmative Defenses, as WWE’s

                                                                   22   proposed Amended Answer concedes all the relief MLW requested in the Motion.3

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                                                                        2
                                                                            MLW in no way concedes that WWE’s proposed First Amended Answer is sufficiently pleaded.
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                                                                        3
                                                                            WWE fails to address MLW’s argument, see Mot. at 14, which makes clear that “[r]eserv[ing] an
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                                                                        ability to raise other defenses[] is not a defense,” and such reservation “serves no real purpose in the
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                                                                              MLW’S REPLY IN SUPPORT OF MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                                                                    1   II.        ARGUMENT

                                                                    2              A.     WWE Applies the Wrong Pleading Standard

                                                                    3              WWE claims that “some courts in this District, but not all, have required affirmative

                                                                    4   defenses to satisfy the plausibility pleading standard set forth in Twombly and [sic] Iqbal.” (Opp.

                                                                    5   at 3 (emphasis added).) This argument wholly ignores that “[c]ourts in this district have

                                                                    6   consistently required affirmative defenses to meet the Twombly/Iqbal standard,” Moonbug Ent.

                                                                    7   Ltd. v. BabyBus (Fujian) Network Tech. Co., 2023 WL 4142969, at *1 (N.D. Cal. June 21, 2023)

                                                                    8   (emphasis added),4 and that Your Honor has consistently required the same, see, e.g., Neo4j, Inc.

                                                                    9   v. PureThink, LLC, 2023 WL 122402, at *7 (N.D. Cal. Jan. 6, 2023) (Davila, J.) (“Courts often

                                                                   10   apply the same plausibility pleading standard to affirmative defenses, regardless of whether they

                                                                   11   are challenged under either Rule 12(c) or 12(f).”); Fed. Trade Comm’n v. Meta Platforms Inc.,
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                                                                   12   2022 WL 16637996, at *1 (N.D. Cal. Nov. 2, 2022) (Davila, J.) (“In this district, defendants
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                                                                   13   provide ‘fair notice’ of an affirmative defense by meeting the Twombly/Iqbal pleading

                                                                   14   standard.”).5 WWE’s failure to distinguish, or even address, this overwhelming authority is

                                                                   15   telling.

                                                                   16

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                                                                        litigation.” Madison, 2013 WL 5769979, at *3 (citation omitted) (striking reservation of rights
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                                                                        affirmative defense). Thus, the Court should also strike the “Reservation of Rights” section with
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                                                                   20   prejudice. See, e.g., Goobich, 2020 WL 1503685, at *4 (striking reservation of rights affirmative
                                                                        defense with prejudice).
                                                                   21
                                                                        4
                                                                            See also BGC, Inc. v. Bryant, 2023 WL 4138287, at *4 (N.D. Cal. June 21, 2023) (“While the
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                                                                        Ninth Circuit has not yet ruled on the issue, ‘courts in this district continue to require affirmative
                                                                   23
                                                                        defenses to meet’ the standards set forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and
                                                                   24
                                                                        Ashcroft v. Iqbal, 556 U.S. 662 (2009).” (citation omitted)).
                                                                   25
                                                                        5
                                                                            See also Neo4j, Inc. v. PureThink, LLC, 2021 WL 810260, at *2 (N.D. Cal. Mar. 3, 2021) (Davila,
                                                                   26
                                                                        J.) (same); Neo4j, Inc. v. PureThink, LLC, 480 F. Supp. 3d 1071, 1075 (N.D. Cal. 2020) (Davila, J.)
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                                                                               MLW’S REPLY IN SUPPORT OF MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                                                                    1           Rather, WWE argues that its admittedly deficient Affirmative Defenses should pass muster

                                                                    2   because “courts in this district have recognized that even ‘boilerplate,’ ‘standard’ affirmative

                                                                    3   defenses are ‘appropriate at the outset of the case before discovery has commenced.’” (Opp. at 7

                                                                    4   (quoting Vistan Corp. v. Fadei USA, Inc., 2011 WL 1544796, at *7 (N.D. Cal. Apr. 25, 2011)).)

                                                                    5   But WWE’s citation to Vistan is inapposite. There, “Defendants’ counterclaims provide[d]

                                                                    6   sufficient notice of the defenses,” Vistan Corp., 2011 WL 1544796, at *7, whereas WWE pleaded

                                                                    7   no such counterclaims providing sufficient notice of the defenses here. Furthermore, the Northern

                                                                    8   District of California has already declined to extend Vistan to WWE’s argument:

                                                                    9           Defendants acknowledge that they have not included factual allegations in their

                                                                   10           affirmative defenses but argue that their counterclaims supply sufficient facts to

                                                                   11           provide Plaintiffs with notice. They cite Vistan Corp. v. Fadei USA, Inc., No. C-10-
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                                                                   12           4862 JCS, 2011 WL 1544796, at *7 (N.D. Cal. Apr. 25, 2011) as “binding precedent”
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                                                                   13           establishing that that a defendant’s counterclaims provide sufficient notice of the

                                                                   14           factual allegations behind a defendant’s boilerplate affirmative defenses. Other lower

                                                                   15           court opinions are not binding and Vistan is distinguishable as a patent case in which,

                                                                   16           as the court stated, the Patent Local Rules would soon require the defendant to

                                                                   17           provide the specificity that the plaintiff sought regarding the defendant’s invalidity

                                                                   18           defense. Id. Moreover, Vistan predates the 2015 amendment to Rule 26, which

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                                                                        (same); Neo4j, Inc. v. Graph Found., Inc., 2020 WL 2793577, at *3 (N.D. Cal. May 29, 2020)
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                                                                        (Davila, J.) (same); Goobich, 2020 WL 1503685, at *2 (“Nonetheless, even after Kohler, courts in
                                                                   22
                                                                        this district continue to require affirmative defenses to meet the Twombly/Iqbal standard.” (citation
                                                                   23
                                                                        omitted)); MIC Prop. & Cas. Corp. v. Kennolyn Camps, Inc., 2015 WL 4624119, at *2 (N.D. Cal.
                                                                   24
                                                                        Aug. 3, 2015) (Davila, J.); Madison, 2013 WL 5769979, at *1 (“In this district at least, a defendant
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                                                                        provides ‘fair notice’ of an affirmative defense by meeting the pleading standard articulated in
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                                                                        Federal Rule of Civil Procedure 8, as further refined by Bell Atlantic Corporation v. Twombly . . .
                                                                   27
                                                                        and Ashcroft v. Iqbal . . . .”).
                                                                   28
                                                                                                               4
                                                                             MLW’S REPLY IN SUPPORT OF MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                                                                    1          limited discovery to matters that are relevant to any party’s “claim or defense,” not

                                                                    2          potentially leading to a defense. Fed. R. Civ. P. 26(b)(1). Thus, Defendants should

                                                                    3          have an adequate basis for asserting a defense before the parties commence

                                                                    4          discovery.

                                                                    5   Loc. Ventures & Invs., LLC v. Open Found., 2019 WL 7877935, at *3 (N.D. Cal. Mar. 12, 2019).

                                                                    6          Moreover, Vistan predated this Court’s opinions in Moonburg, Meta Platforms, and

                                                                    7   Goobich, among others, which leave no doubt that boilerplate pleading is impermissible. Indeed,

                                                                    8   even the cases cited by WWE apply the heightened Twombly/Iqbal pleading standard. (See Opp.

                                                                    9   at 9 (citing Tongsui LLC v. LecocoLove LLC, 2022 WL 541179, at *4 (N.D. Cal. Feb. 23, 2022)

                                                                   10   (“Although the Ninth Circuit has not spoken directly on pleading standards for affirmative

                                                                   11   defenses, ‘the majority of courts in [the Northern District of California] have held that the
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                                                                   12   heightened pleading standard of Twombly and Iqbal ... is now the correct standard to apply to
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                                                                   13   affirmative defenses.’” (citation omitted)); Perez v. Gordon & Wong L. Grp., P.C., 2012 WL

                                                                   14   1029425, at *8 (N.D. Cal. Mar. 26, 2012) (“The Court therefore joins those other district courts in

                                                                   15   concluding that the heightened ‘plausibility’ standard articulated in Twombly, and extended to all

                                                                   16   civil pleadings in Iqbal, applies equally to the pleading of affirmative defenses as it does to the

                                                                   17   pleading of claims for relief in a complaint.”)).) Thus, the Court should reject WWE’s attempt to

                                                                   18   overturn clear precedent establishing that the Northern District of California applies a heightened

                                                                   19   pleading standard to affirmative defenses.
                                                                   20          B.      WWE Has Not Adequately Pleaded Its Affirmative Defenses

                                                                   21          WWE argues that its third (unclean hands or in pari delicto), fourth (estoppel, laches, and

                                                                   22   waiver), seventh (mitigation of damages), eighth (actual or proximate cause), ninth (alternative

                                                                   23   cause), tenth (intervening or superseding cause), eleventh (unjust enrichment), and fourteenth

                                                                   24   (economic or business justification) Affirmative Defenses are “‘standard’ and ‘well-established’

                                                                   25   defenses inherently provid[ing] fair notice to plaintiff.” (Opp. at 7 (quoting Pac. Dental Servs.,

                                                                   26   LLC v. Homeland Ins. Co. of N.Y., 2013 WL 3776337, at *3, 6, 8 (C.D. Cal. July 17, 2013)).) But

                                                                   27   WWE applies an incorrect standard—relying on case law from other jurisdictions—and fails to

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                                                                    1   rebut or distinguish the overwhelming authority from the Northern District of California striking

                                                                    2   each of these Affirmative Defenses when inadequately pleaded.

                                                                    3                   1.      Third Affirmative Defense (Unclean Hands or In Pari Delicto)

                                                                    4           WWE fails to address or distinguish the cases in this District that establish that “simply

                                                                    5   stating that a claim fails due to plaintiff’s ‘unclean hands’ is not sufficient to notify the plaintiff

                                                                    6   what behavior has allegedly given them ‘unclean hands.’” CTF Dev., Inc. v. Penta Hosp., LLC,

                                                                    7   2009 WL 3517617, at *7 (N.D. Cal. Oct. 26, 2009) (emphasis in original) (striking unclean hands

                                                                    8   affirmative defense); see also Goobich, 2020 WL 1503685, at *3 (same); G & G Closed Cir.

                                                                    9   Events, LLC v. Nguyen, 2013 WL 132471, at *2 (N.D. Cal. Jan. 9, 2013) (same); G & G Closed

                                                                   10   Cir. Events, LLC v. Nguyen, 2011 WL 6293922, at *2 (N.D. Cal. Dec. 15, 2011) (same).

                                                                   11           Instead, WWE relies on cases in other districts that apply a more relaxed pleading standard
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                                                                   12   than the one consistently applied by the Northern District of California. (See Opp. at 8 (citing
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                                                                   13   Agricola Cuyuma SA v. Corona Seeds, Inc., 2019 WL 1878353, at *4 & n.1 (C.D. Cal. Feb. 20,

                                                                   14   2019) (applying relaxed pleading standard in finding that “naming [unclean hands, laches, and

                                                                   15   unjust enrichment] is likely sufficient to provide fair notice,” but recognizing that “some district

                                                                   16   courts in this circuit have reached an opposite conclusion,” including the Northern District of

                                                                   17   California)); Vogel v. Linden Optometry APC, 2013 WL 1831686, at *2–3 (C.D. Cal. Apr. 30,

                                                                   18   2013) (declining to apply Iqbal/Twombly to affirmative defenses, but noting that “[w]ithin the

                                                                   19   Northern District, there is widespread agreement that Iqbal–Twombly applies” (citation omitted)).)
                                                                   20           Further, WWE offers no authority in support of pleading an in pari delicto affirmative

                                                                   21   defense through “boilerplate allegations [] lack[ing] allegations specific to this action.” Xingen v.

                                                                   22   Inland Energy, Inc., 2020 WL 13211718, at *6 (C.D. Cal. Feb. 18, 2020) (striking affirmative

                                                                   23   defense for in pari delicto). And it makes no attempt to address or distinguish the cases cited by

                                                                   24   MLW. (See generally Opp. at 7–8; Mot. at 7–8.)

                                                                   25                   2.      Fourth Affirmative Defense (Estoppel, Laches, and Waiver)

                                                                   26           Similarly, WWE does not rebut the cases in this District holding that affirmative defenses

                                                                   27   of estoppel, laches, and waiver are “insufficient,” where, as here, “they lack any facts to support

                                                                   28   defendants’ conclusory allegations.” Prods. & Ventures Int’l v. Axus Stationary (Shanghai) Ltd.,
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                                                                    1   2017 WL 1330598, at *5 (N.D. Cal. Apr. 11, 2017) (striking affirmative defenses for estoppel,

                                                                    2   laches, and waiver); see also G & G, 2011 WL 6293922, at *2 (same).

                                                                    3          Instead, WWE perplexingly relies on cases from the Central District of California that

                                                                    4   explicitly refute its argument by acknowledging that the Northern District applies a different

                                                                    5   standard. (See Opp. at 8 (citing Agricola, 2019 WL 1878353, at *4 n.1 (recognizing that “some

                                                                    6   district courts in this circuit have reached an opposite conclusion,” including the Northern District

                                                                    7   of California); Vogel, 2013 WL 1831686, at *2 (“Within the Northern District, ‘there is

                                                                    8   widespread agreement’ that Iqbal–Twombly applies.” (citation omitted)).)

                                                                    9          WWE also argues that its estoppel, laches, and waiver defenses are somehow “self-

                                                                   10   evident” based on MLW’s own allegations. (Opp. at 8–9.) This argument also fails: affirmative

                                                                   11   defenses are judged for adequacy based on the supporting information alleged by the defendant.
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                                                                   12   See Facebook, Inc. v. Gajjar, 2022 WL 2239834, at *7 (N.D. Cal. June 17, 2022) (“To the extent
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                                                                   13   that Defendant argues that Plaintiffs are aware of the nature of its affirmative defenses, there is no

                                                                   14   authority supporting the notion that the opposing party’s knowledge of the general facts of the

                                                                   15   case excuses the omission of factual bases of pleading affirmative defenses.” (citation omitted)).

                                                                   16          Moreover, WWE’s argument is factually incorrect. For example, WWE argues that

                                                                   17   MLW’s claims are barred because “MLW’s allegations cover events that purportedly spanned

                                                                   18   decades” and MLW “has offered no legitimate reason for not seeking relief sooner.” (Opp. at 8–

                                                                   19   9.) But MLW filed suit on January 11, 2022, just five months after WWE executive Stephanie
                                                                   20   McMahon’s August 9, 2021 call, in which she pressured a Tubi executive to end its agreement

                                                                   21   with MLW. (See ECF 64 (“FAC”) ¶¶ 99–102.) MLW did not delay in seeking redress for

                                                                   22   WWE’s wrongful conduct. By WWE’s logic, a monopolist would be immunized from ongoing

                                                                   23   anticompetitive conduct simply because it has a history of engaging in anticompetitive practices

                                                                   24   against others. WWE’s argument is nonsensical: courts recognize that where antitrust violations

                                                                   25   are continuing in nature, a plaintiff’s cause of action accrues “each time a plaintiff is injured by an

                                                                   26   act of the defendant[].” Oliver v. SD-3C LLC, 751 F.3d 1081, 1086–87 (9th Cir. 2014) (rejecting

                                                                   27   argument that laches barred federal antitrust claim).

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                                                                    1                  3.      Seventh Affirmative Defense (Mitigation of Damages)

                                                                    2          WWE implicitly concedes that its failure to mitigate Affirmative Defense lacks specific

                                                                    3   factual allegations—as further evidenced by its proposal amending this Affirmative Defense, see

                                                                    4   Opp. Ex. B at 24—which may explain why WWE does not address or attempt to distinguish the

                                                                    5   many other decisions in this District, including those decided by Your Honor, requiring sufficient

                                                                    6   factual allegations to adequately plead a failure to mitigate affirmative defense. See, e.g., G & G,

                                                                    7   2011 WL 6293922, at *2 (striking failure to mitigate damages affirmative defense, where

                                                                    8   defendant failed to “state what damages could have been mitigated and how [plaintiff] failed to do

                                                                    9   so”); Wesch v. Yodlee, Inc., 2021 WL 6206642, at *3 (N.D. Cal. Dec. 6, 2021) (striking

                                                                   10   conclusory failure to mitigate damages affirmative defense); Espitia v. Mezzetti Fin. Servs., Inc.,

                                                                   11   2019 WL 359422, at *3 (N.D. Cal. Jan. 29, 2019) (same); ABC Distrib., Inc. v. Living Essentials
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                                                                   12   LLC, 2016 WL 8114206, at *3 (N.D. Cal. Apr. 26, 2016) (same).
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                                                                   13          WWE instead asserts that “courts in this district ‘routinely permit the pleading of a failure

                                                                   14   to mitigate defense without specific factual allegations prior to the completion of discovery.’”

                                                                   15   (Opp. at 8 (quoting Winns v. Exela Enter. Sols., Inc., 2021 WL 5632587, at *5 (N.D. Cal. Dec. 1,

                                                                   16   2021) (alterations omitted) and citing Fabian v. LeMahieu, 2020 WL 3402800, at *5 (N.D. Cal.

                                                                   17   June 19, 2020).) But Winns and Fabian largely rely on decisions from other districts and do not

                                                                   18   control this Court’s prior opinions.

                                                                   19                  4.      Eighth (Actual or Proximate Cause), Ninth (Alternative Cause) and
                                                                                               Tenth (Intervening or Superseding Cause) Affirmative Defenses
                                                                   20
                                                                               WWE argues that the “basis for WWE’s causation-based defenses (eighth, ninth, and tenth
                                                                   21
                                                                        affirmative defenses) is equally clear.” (Opp. at 9.) But WWE makes no effort to contest that
                                                                   22
                                                                        affirmative defenses alleging lack of actual or proximate causation are improper. See, e.g., Jansen
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                                                                        v. Travelers Com. Ins. Co., 2017 WL 607610, at *3 (N.D. Cal. Feb. 15, 2017) (striking affirmative
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                                                                        defense alleging that defendant was not the cause in fact or proximate cause of plaintiffs’ alleged
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                                                                        damages). In fact, it concedes the impropriety of its causation defense by withdrawing the eighth
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                                                                        Affirmative Defense in its proposed Amended Answer. (See Opp. Ex. B at 24.)
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                                                                    1          And WWE fails to address cases in this District striking similarly threadbare affirmative

                                                                    2   defenses. See, e.g., G & G, 2011 WL 6293922, at *2 (striking affirmative defense asserting that

                                                                    3   the alleged damages were the proximate result of third-party acts, where defendant “d[id] not

                                                                    4   identify any third parties or their acts”); Espitia, 2019 WL 359422, at *3 (striking proximate cause

                                                                    5   by a third party affirmative defense where “defendants fail[ed] to identify any third parties or

                                                                    6   intervening or superseding conduct of third parties on which they base[d] this defense”); Perez,

                                                                    7   2012 WL 1029425, at *10 (striking affirmative defense for intervening or superseding events,

                                                                    8   where defendants “fail[ed] to allege any actual intervening or supervening events on which they

                                                                    9   base[ed] their affirmative defense.”).

                                                                   10          Further, WWE for the first time suggests that its vague “forces in the marketplace”

                                                                   11   allegation in its tenth Affirmative Defense, see Opp. Ex. B at 25, also applies to its eighth and
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                                                                   12   ninth Affirmative Defenses. (See Opp. at 9.) As noted supra at §II.A, WWE’s theory that these
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                                                                   13   forces are “self-evident” not only applies an incorrect legal standard, but is defective insofar as it

                                                                   14   fails to specify what “forces in the marketplace” it refers to. By ambiguously alleging “forces in

                                                                   15   the marketplace,” MLW is forced to “interpret what [WWE] may have meant by such [a] vague

                                                                   16   statement[].” CTF Dev., Inc., 2009 WL 3517617, at *7, 8 (“Under the Iqbal standard, the burden

                                                                   17   is on the defendant to proffer sufficient facts and law to support an affirmative defense, and not on

                                                                   18   the plaintiff to gamble on interpreting an insufficient defense in the manner defendant intended.”

                                                                   19   (emphasis in original)).
                                                                   20                  5.      Eleventh Affirmative Defense (Unjust Enrichment)

                                                                   21          WWE also fails to address or distinguish cases in this District striking unjust enrichment

                                                                   22   affirmative defenses that, like here, are “devoid of any material facts,” “simply refer to a legal

                                                                   23   doctrine,” and are “just a single sentence.” Inn S.F. Enter., Inc. v. Ninth St. Lodging, LLC, 2016

                                                                   24   WL 8469189, at *2 (N.D. Cal. Dec. 19, 2016) (striking unjust enrichment affirmative defense);

                                                                   25   Barnes v. AT & T Pension Benefit Plan-Nonbargained Program, 718 F. Supp. 2d 1167, 1172

                                                                   26   (N.D. Cal. 2010) (same). Rather, WWE relies on case law from outside of this District applying a

                                                                   27   lower pleading standard, including a case specifically noting its split from this Court. (See Opp. at

                                                                   28   8 (citing Agricola Cuyuma SA, 2019 WL 1878353, at *4 n.1 (recognizing that “some district
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                                                                    1   courts in this circuit have reached an opposite conclusion,” including the Northern District of

                                                                    2   California).)

                                                                    3                   6.     Fourteenth Affirmative Defense (Economic or Business Justification)

                                                                    4          WWE likewise does not distinguish the cases in this District striking affirmative defenses

                                                                    5   alleging economic or business justifications without adequate facts to sustain such defenses. See,

                                                                    6   e.g., McKinney-Drobnis v. Massage Envy Franchising, LLC, 2017 WL 1246933, at *7 (N.D. Cal.

                                                                    7   Apr. 5, 2017) (striking business justification affirmative defense). Instead, WWE relies on a case

                                                                    8   from the Northern District of Georgia that applies a different legal standard. (See Opp. at 8 (citing

                                                                    9   Catch Curve, Inc. v. Integrated Glob. Concepts, Inc., 2012 WL 12541116, at *2–3 (N.D. Ga. July

                                                                   10   26, 2012) (“In the wake of Twombly, the Eleventh Circuit has not applied the Twombly pleading

                                                                   11   standard to affirmative defenses.”)).)
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                                                                   12          C.       MLW Need Not Demonstrate Prejudice
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                                                                   13          In recognition of the insufficiency of its pleading, WWE argues that the Motion should be

                                                                   14   denied “in the absence of a showing of prejudice.” (Opp. at 9 (quoting Smith v. Wal-Mart Stores,

                                                                   15   2006 WL 2711468, at *2 (N.D. Cal. Sept. 20, 2006) (citation omitted)).) Although some courts in

                                                                   16   this District have denied motions to strike without a showing of prejudice, there is no “strict rule

                                                                   17   that there must be a showing of prejudice for a court to strike an affirmative defense.” Scott

                                                                   18   Griffith Collaborative Sols., LLC v. Falck N. Cal. Corp., 2021 WL 4846935, at *3 (N.D. Cal. June

                                                                   19   7, 2021) (distinguishing Smith, 2006 WL 2711468); see also LumaSense Techs., Inc. v. Advanced
                                                                   20   Eng’g Servs., LLC, 2021 WL 2953237, at *5 (N.D. Cal. July 14, 2021) (“Granting a motion to

                                                                   21   strike under Rule 12(f) does not turn on whether the moving party can show prejudice if the

                                                                   22   pleading itself is insufficient under Rule 8(b).”); In re Volkswagen “Clean Diesel” Mktg., Sales

                                                                   23   Pracs., & Prod. Liab. Litig., 2020 WL 7249274, at *4 (N.D. Cal. Dec. 9, 2020) (“Nothing in Rule

                                                                   24   12(f) requires [plaintiffs] to show prejudice.”). Indeed, this Court routinely strikes affirmative

                                                                   25   defenses that are inadequately pleaded or improper without analyzing prejudice to the plaintiff.

                                                                   26   See, e.g., Goobich, 2020 WL 1503685, at *3–4 (striking, among others, failure to state a claim,

                                                                   27   unclean hands, laches, waiver, standing, and reservation of rights affirmative defenses); MIC

                                                                   28   Prop. & Cas. Corp., 2015 WL 4624119, at *3–5 (striking, among others, failure to state a claim,
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                                                                    1   right to amend pleadings, estoppel, waiver, laches, and unclean hands affirmative defenses);

                                                                    2   Madison, 2013 WL 5769979, at *2–3 (striking, among others, laches, waiver, and reservation of

                                                                    3   rights affirmative defenses).

                                                                    4          Moreover, even if MLW was required to show prejudice, which it is not, MLW is, in fact,

                                                                    5   prejudiced by having to engage in costly discovery and argument on WWE’s patently inadequate

                                                                    6   and improper Affirmative Defenses. See Hartford Underwriters Ins. Co. v. Kraus USA, Inc., 313

                                                                    7   F.R.D. 572, 575 (N.D. Cal. 2016) (“Even if prejudice were required, the burden of conducting

                                                                    8   discovery regarding irrelevant and unsustainable affirmative defenses constitutes such

                                                                    9   prejudice.”); LumaSense Techs., Inc., 2021 WL 2953237, at *5 (holding that if a Rule 12(f)

                                                                   10   motion required a showing of prejudice, the Court would have to “consider the cascading

                                                                   11   inefficiency of researching redundant matters”); Gold Club-SF, LLC v. Platinum SJ Enter., 2013
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                                                                   12   WL 6248475, at *2 (N.D. Cal. Dec. 3, 2013) (“The possibility that issues will be unnecessarily
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                                                                   13   complicated or that superfluous pleadings will cause the trier of fact to draw unwarranted

                                                                   14   inferences at trial is the type of prejudice that is sufficient to support the granting of a motion to

                                                                   15   strike.”); Perez, 2012 WL 1029425, at *8 n.6 (“[P]rejudice may arise solely from a plaintiff’s

                                                                   16   being required to engage in discovery on frivolous issues[.]”).

                                                                   17           WWE further argues that in the absence of a showing of prejudice, there is “a substantial

                                                                   18   interest in conserving the resources of the parties and the Court in disallowing motion practice

                                                                   19   over these issues.” (Opp. at 11.) This argument conveniently ignores that WWE has only itself to
                                                                   20   blame for MLW’s Motion. Despite having sixty (60) days to file its Answer, WWE chose to file

                                                                   21   “slapdash defenses.” Scott Griffith Collaborative Sols., LLC, 2021 WL 4846935, at *3. Yet in

                                                                   22   just 14 days following the filing of this Motion, WWE proposed amended Affirmative Defenses

                                                                   23   that contain significantly more detail than those originally filed. Still, WWE continues to “waste[]

                                                                   24   the Court’s time and resources,” Opp. at 1, by doubling down on its frivolous pleading by arguing

                                                                   25   that the Motion should be denied in its entirety based on standards that unequivocally deviate from

                                                                   26   those consistently applied by this Court. See LumaSense Techs., Inc., 2021 WL 2953237, at *5

                                                                   27   (“And [defendant] could simply have stipulated that those are not affirmative defenses, sparing it

                                                                   28   and me the energy it has taken to address this issue.”); Scott Griffith Collaborative Sols., LLC,
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                                                                    1   2021 WL 4846935, at *3 (“One of the purposes of a Rule 12(f) motion to strike is to avoid the

                                                                    2   expenditure of time and money that must arise from litigating spurious issues by dispensing with

                                                                    3   those issues prior to trial[.]” (citation omitted)); In re Volkswagen "Clean Diesel" Mktg., Sales

                                                                    4   Pracs., & Prod. Liab. Litig., 2020 WL 7249274, at *4 (“Indeed, Rule 12(f) exists because

                                                                    5   continued litigation of a defense that is ‘insufficient … redundant, immaterial, impertinent, or

                                                                    6   scandalous’ necessarily wastes courts’ and parties’ resources.” (quoting Fed. R. Civ. P. 12(f))).

                                                                    7            WWE’s arguments are also self-defeating: its own proposed Amended Answer proves that

                                                                    8   MLW’s Motion will help “significantly narrow the defenses at issue.” Loc. Ventures & Invs.,

                                                                    9   LLC, 2019 WL 7877935, at *4; see also Goobich, 2020 WL 1503685, at *3 (improper affirmative

                                                                   10   defenses are “redundant and may be stricken so as to simplify and streamline the litigation.”

                                                                   11   (emphasis added) (citation omitted)).
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                                                                   12   III.     CONCLUSION
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                                                                   13            For the foregoing reasons, the Court should strike all thirteen of WWE’s Affirmative

                                                                   14   Defenses; strike the “Reservation of Rights” section; and deny leave to amend the “Reservation of

                                                                   15   Rights” section and the first, second, fifth, sixth, eighth, and twelfth Affirmative Defenses.

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                                                                    1   Dated: September 14, 2023

                                                                    2                               Respectfully submitted,

                                                                    3                               /s/ Christine A. Montenegro
                                                                                                    Marc E. Kasowitz (pro hac vice)
                                                                    4                               Hector J. Torres (pro hac vice)
                                                                                                    Christine A. Montenegro (pro hac vice)
                                                                    5
                                                                                                    Nicholas A. Rendino (pro hac vice)
                                                                    6                               Joshua E. Roberts (pro hac vice)
                                                                                                    KASOWITZ BENSON TORRES LLP
                                                                    7                               1633 Broadway
                                                                                                    New York, New York 10019
                                                                    8                               Tel.: (212) 506-1700
                                                                                                    Fax: (212) 506-1800
                                                                    9
                                                                                                    mkasowitz@kasowitz.com
                                                                   10                               htorres@kasowitz.com
                                                                                                    cmontenegro@kasowitz.com
                                                                   11                               nrendino@kasowitz.com
                                                                                                    jroberts@kasowitz.com
KASOWITZ BENSON TORRES LLP

                             SAN FRANCISCO, CALIFORNIA 94111




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                               101 CALIFORNIA STREET, SUITE 3950




                                                                   13                               Jason S. Takenouchi (SBN 234835)
                                                                                                    KASOWITZ BENSON TORRES LLP
                                                                   14                               101 California Street, Suite 3950
                                                                                                    San Francisco, California 94111
                                                                   15                               Tel.: (415) 421-6140
                                                                                                    Fax: (415) 398-5030
                                                                   16                               jtakenouchi@kasowitz.com
                                                                   17                               Attorneys for Plaintiff MLW Media LLC
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                                                                    1                                    CERTIFICATE OF SERVICE

                                                                    2          The undersigned hereby certifies that on the 14th day of September 2023, all counsel of record

                                                                    3   who are deemed to have consented to electronic service are being served with a copy of this document

                                                                    4   via the Court’s CM/ECF system.

                                                                    5

                                                                    6                                        /s/ Christine A. Montenegro
                                                                                                             Christine A. Montenegro
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